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     Attorneys for Moctezuma Tovar
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                               )   Case No.: 2:11-cr-00296-01 WBS
     UNITED STATES OF AMERICA,                   )
10                                               )   STIPULATION AND [PROPOSED]
                   Plaintiff,                    )   ORDER MODIFYING CONDITIONS OF
11                                               )   RELEASE FOR MOCTEZUMA TOVAR
         vs.                                     )
12   MOCTEZUMA TOVAR,                            )
                                                 )
13                 Defendant.                    )
                                                 )
14
15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   conditions of release for defendant Moctezuma Tovar may be modified to permit Mr.
17   Tovar to travel to Puerta Vallarta, Mexico from June 16, 2018 to June 23, 2018 in order
18   to attend a family reunion. Mr. Tovar shall return to the Eastern District of California on
19   or before June 23, 2018.
20          Brian Fogerty, Assistant United States Attorney, and Thomas A. Johnson, attorney
21   for Moctezuma Tovar, agree to this modification of the conditions of release. All other
22   previously ordered conditions of release remain in full force and effect.
23
24   IT IS SO STIPULATED.
25
26   Dated: May 14, 2018                                     /s/ Thomas A. Johnson
                                                             THOMAS A. JOHNSON
27
                                                             Attorney for Moctezuma Tovar
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 1
     Dated: May 14, 2018                                      McGREGOR W. SCOTT
 2                                                            United States Attorney
 3
                                                              /s/ Brian Fogerty
 4                                                            BRIAN FOGERTY
                                                              Assistant U.S. Attorney
 5
 6
 7
                                                  ORDER
 8
            IT IS HEREBY ORDERED that defendant Moctezuma Tovar may travel to Puerta
 9
     Vallarta, Mexico to attend a family reunion from June 16, 2018 to June 23, 2018. In
10
     advance of his trip, Mr. Tovar shall provide proof of his travel and hotel accommodations
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     to the Assistant United States Attorney. Mr. Tovar shall return to this district on June 23,
12
     2018, and his failure to do so will be considered a violation of the terms of his conditions
13
     of release as well as a separate crime for which he may be prosecuted.
14
            IT IS FURTHER ORDERED that the Clerk of the Court shall return Moctezuma
15
     Tovar’s passport. Mr. Tovar shall return his passport to the Clerk of the Court on the first
16
     business day following his return to the Eastern District of California on June 23, 2018.
17
18
            IT IS SO ORDERED.
19
     Dated: May 14, 2018
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